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  4
      Entered on Docket
   5March 21, 2012
___________________________________________________________________
  6      KEITH SHAPIRO, ESQ.                                            BOB L. OLSON, ESQ.
         Illinois Bar No. 6184374                                       Nevada Bar No. 3783
  7      NANCY A. PETERMAN, ESQ.                                        GREENBERG TRAURIG, LLP
         Illinois Bar No. 6208120                                       3773 Howard Hughes Parkway,
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         GREENBERG TRAURIG, LLP                                         Suite 400 North
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 10      Telephone: 312-456-8400                                        Facsimile: 702-792-9002
         Facsimile: 312-456-8435                                        Email: olsonb@gtlaw.com
 11      Email: shapirok@gtlaw.com
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 12

 13      Counsel for Debtor
         and Debtor-in-Possession
 14
                                       UNITED STATES BANKRUPTCY COURT
 15
                                            FOR THE DISTRICT OF NEVADA
 16
         In re:                                                    Case No. BK-11-52649
 17
         SHENGDATECH, INC.,                                        Chapter 11
 18
                                    Debtor.                            ORDER GRANTING RELIEF FROM
 19
                                                                       AUTOMATIC STAY, TO THE EXTENT
 20                                                                    NECESSARY, TO ALLOW PAYMENT
                                                                       OF COSTS FROM DIRECTORS &
 21                                                                    OFFICERS INSURANCE POLICY
 22
                  Upon the motion (the “Motion”)1 of ShengdaTech, Inc., as debtor and debtor-in-
 23
         possession (the “Debtor”) in the above-captioned chapter 11 case (the “Chapter 11 Case”),
 24
         seeking entry of an order, pursuant to sections 105(d), 362(d) and 541 of title 11 of the United
 25
         States Code (the “Bankruptcy Code”), authorizing Zurich American Insurance Company
 26
         (“Zurich”) to pay certain prepetition costs in accordance with and subject to the terms and
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 28      1
             Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.



         133222.010400 62,165,730 2 CHI                            1
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     conditions of certain directors and officers (“D&O”) insurance policies issued by Zurich to the
 2
     Debtor, all as more fully described in the Motion; and the Court having jurisdiction to consider
 3
     the Motion and grant the requested relief in accordance with 28 U.S.C. §§ 157 and 1334; and
 4
     consideration of the Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue
 5
     being proper before this Court pursuant to 28 U.S.C. §1408; and the Court having held a hearing
 6
     to consider the requested relief (the “Hearing”); and the Debtor having provided good and
 7
     sufficient notice of the Motion as set forth therein; and upon the record of the Hearing, and all of
 8
     the proceedings before the Court, the Court finds and determines that the requested relief is in
 9
     the best interests of the Debtor, its estate, creditors, and all parties in interest; the Debtor has
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     provided due and proper notice of the Motion and Hearing and no further notice is necessary;
11
     and the legal and factual bases set forth in the Motion establish just and sufficient cause to grant
12
     the requested relief herein;
13
             THEREFORE IT IS HEREBY ORDERED THAT:
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              1.       The Motion is granted.
15
              2.       Pursuant to section 362(d) of the Bankruptcy Code, the automatic stay is lifted, to
16
     the extent necessary, for “cause” to allow Zurich to pay the costs incurred by Fulbright under the
17
     Policy prior to the Petition Date in the amount of $225,601.92, in accordance with and subject to
18
     the terms and conditions of the Policy and this Order.
19
              3.       Nothing in this Order shall constitute a determination that the proceeds of the
20
     Policy are or are not property of the Debtor’s estate and all rights with respect thereto are
21
     reserved.
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              4.       The Debtor is authorized and empowered to take all actions necessary to
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     implement the relief granted in this Order.
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              5.       This Court shall retain jurisdiction to hear and determine all matters arising from
 2
     the implementation of this Order.
 3

 4
     Respectfully prepared and submitted by:
 5
              /s/ Nancy A. Peterman
 6   KEITH SHAPIRO, ESQ.
     Illinois Bar No. 6184374
 7
     NANCY A. PETERMAN, ESQ.
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     Chicago, Illinois 60601
10
     and
11

12   BOB L. OLSON, ESQ.
     Nevada Bar No. 3783
13   GREENBERG TRAURIG, LLP
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14   Suite 400 North
     Las Vegas, Nevada 89169
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16   Counsel for Debtor
     and Debtor-in-Possession
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 1              CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
 2
         In accordance with Local Rule 9021, counsel submitting this document certifies that the
 3
     order accurately reflects the court’s ruling and that (check one):
 4
                      The Court has waived the requirement set forth in LR 9021(b)(1).
 5

 6                    No party appeared at the hearing or filed an objection to the motion.

 7                    I have delivered a copy of this proposed order to all counsel who
                      appeared at the hearing, and any unrepresented parties who appeared at
 8                    the hearing, and each has approved or disapproved the order, or failed
                      to respond, as indicated below [list each party and whether the party
 9
                      has approved, disapproved, or failed to respond to the document].
10
                      William Cossitt - U.S. Trustee's Office - Approved
11                    John Lyons & Frances Kao - Counsel to the Special Committee - No Response
                      Jennifer Smith - Local Counsel to the Special Committee - No Response
12                    Christopher Donoho and Catherine Yu - Counsel to the Official Committee of
13                    Unsecured Creditors - Approved
                      Robert Kinas - Local Counsel to the Official Committee of Unsecured Creditors -
14                    No Response
                      Steve Dollar - Counsel to the Independent Directors - No Response
15                    R. Stacy Lane - Counsel to Zurich American Insurance Company - No Response
                      Ira Levee - Bankruptcy Counsel for the Lead Plaintiffs and the Putative Class -
16                    Approved
17
                      I certify that this is a case under Chapter 7 or 13, that I have served a
18                    copy of this order with the motion pursuant to LR 9014(g), and that no
                      party has objected to the form or content of the order.
19
20                                                     ###
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